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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                  LUBBOCKDTVISION

UNITED STATES OF AMERICA,
      P1aintiff,

                                                             NO. 5:22-CR-084-02-H
KINNSLEY CHARLIEANN MATHEWS,
     Defendant.


                   ORDER ACCEPTING REPORT AND RECOMMENDATION
                      OF TIM UMTED STATES MAGISTRATE JUDGE
                            CONCERNING PLEA OF GUILTY

          After reviewing all relevant matters of record, including the Notice Regarding Entry

of a Plea of Guilty, the Consent of the Deflendant, and the Report and Recommendation

Conceming Plea of Guilty of the united states Magistrate Judge, and no objections thereto

having been flled within fourteen (14) days of service in accordance with 28 U.S.C.

$   636(b)(l), the undersigned District Judge is of the opinion that rhe Report and

Recommendation of the Magistrate Judge conceming the Plea of Guilty is correct, and it is

hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty and

Defendant is hereby adjudged guilty.

         Sentence will be imposed in accordance with the Court's scheduling order.

         SO ORDERED.

         DatedDecemb     'r L   ,zOZZ.




                                             JAMES        SLEY   NDRIX
                                             UNITE      STATES DISTRICT ruDGE
